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                                   STATEMENT OF FACTS

        Your affiant,                   , is a Special Agent for the Federal Bureau of Investigation
(“FBI”), based out of the Birmingham Field Office. I have been employed as a Special Agent since
April 2021. I currently serve as a member of the Domestic Terrorism Squad, which investigates
violent crimes and terroristic threats in the Northern District of Alabama. I have received training
in counterterrorism, physical surveillance, confidential source management, electronic
surveillance techniques, and other matters. I have conducted and/or participated in
counterterrorism investigations and investigations regarding firearms, violent extremists, and
organized criminal activity. Prior to joining the FBI, I was employed for more than twelve years
as a law enforcement officer in the state of Virginia, where I conducted investigations and obtained
and executed both search and arrest warrants and have received advanced training regarding
obtaining search and arrest warrants related to major cases.

        Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

                 Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
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        Your affiant, Matthew Spiker, is a Special Agent for the Federal Bureau of Investigation
(“FBI”), based out of the Birmingham Field Office. I have been employed as a Special Agent since
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attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to, and did, evacuate the chambers. Accordingly, the joint session of
the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Identification of Darrell GOINS

       On or around July 24, 2022, the FBI received a tip identifying Darrell Wayne Goins
(“GOINS”) in images and videos taken inside the Capitol building and on Capitol grounds on
January 6, 2021. Following receipt of this tip, I obtained GOINS’s driver’s license photograph
from the Alabama Communications and Operations Portal (“AlaCOP”) Law Enforcement Tactical
System (“LETS”).

        On or around December 13, 2022, I reviewed closed circuit television (“CCTV”) footage
taken from inside the Capitol and identified a person matching GOINS’s appearance in his driver’s
license photograph entering and remaining in the Capitol building on January 6, 2021. In the
CCTV footage I reviewed, GOINS is pictured wearing khaki pants and a black hooded jacket. At
various times throughout his time in and around the Capitol, GOINS can sometimes be seen
wearing a lime green neck gaiter, a black beanie, and/or a red, white, and blue baseball cap with
“USA” on the front.

       On December 14, 2023, your affiant interviewed a former coworker of GOINS. This
former coworker identified GOINS in a still from a video depicting GOINS inside the U.S. Capitol
Building on January 6, 2021. This still is shown below as Image 2.
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           Image 1: Still from open-source video, shown to GOINS’s former coworker

                            GOINS’s Activities at the U.S. Capitol

       On January 6, 2021, GOINS was part of the crowd gathered on the Capitol’s West Plaza.
Public video shows GOINS at the very front of the crowd, standing directly in front of the line of
the U.S. Capitol Police (“USCP”) officers that had formed to protect the Capitol. While there,
open-source video depicts GOINS raising his fist in the air and cheering to the crowd of rioters.




        Images 2.1, 2.2, & 2.3: Stills from open-source video, with GOINS circled in red
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        At approximately 1:50 p.m., rioters began to breach the police line protecting a staircase
located at the north end of the West Plaza. GOINS proceeded to join the crowd in pushing forward
up the stairs. Before entering the stairway—which was covered with the scaffolding at the time—
video shows GOINS throw what appears to be a full, approximately 20-ounce plastic soft-drink
bottle in the direction of USCP Officer B.W., who was standing at the base of the stairs.




             Image 3: Still from open-source video, with GOINS circled in red and
                                 Officer B.W. circled in yellow

       Based on your affiant’s review of this footage, the bottle thrown by GOINS appears to have
narrowly missed making contact with Officer B.W.’s head.
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   Image 4: Still from open-source video, with GOINS circled in red and the bottle thrown by
                                   GOINS circled in yellow

         After throwing the bottle at Officer B.W., GOINS moved with the crowd up the northwest
stairs. GOINS worked his way to the front of the crowd, which had been stopped at a partway up
the stairs, where a temporary construction-style doorway partially blocked the path. Videos show
several USCP officers standing on the other side of the doorway and attempting to prevent the
crowd from advancing any further toward the Capitol.




               Image 5: Still from open-source video, with GOINS circled in red
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        GOINS eventually advanced further up the stairs past the doorway. Your affiant spoke with
several of the USCP officers present in this area, who explained that some rioters made their way
around the temporary doorway by climbing through the scaffolding to the left of the temporary
doorway. Based on my review of video, this is consistent with GOINS’s path from standing just
behind the scaffolding to the left of the door to his later position behind the doorway.




  Images 6.1, 6.2, & 6.3: Stills from one open-source video, with GOINS circled in red and the
                           northwest stairs doorway circled in yellow

       This is also consistent with videos I reviewed, in which USCP officers standing behind the
doorway point in the direction of the scaffolding to the left of the doorway just before rioters—
including GOINS—appear behind the police line.




                             Image 7: Still from open-source video
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        Videos show that, after making his way up the stairs beyond the temporary doorway,
GOINS physically engaged with several USCP officers while attempting to break through their
lines. One video captures approximately one second of this interaction. In the video, GOINS can
be seen at the top of the stairs with at least three officers working to prevent him from advancing
any further. During the course of my investigation, I identified USCP Special Agent M.F. as one
of the officers engaging with Goins. I reviewed this video with Special Agent M.F., who recalled
Goins actively rushing at the police line in an apparent attempt to get past law enforcement and
gain access to the U.S. Capitol.




                Image 8: Still from open-source video, with GOINS circled in red

        During this interaction, GOINS made it to the top landing of the stairway the police were
protecting. Eventually, however, USCP officers, including Special Agent M.F., were able to
wrestle him to the ground and bring GOINS to a seated position on the stairs.
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                Image 9: Still from open-source video, with GOINS circled in red

        When rest of the mob advanced to the top landing of the stairs, GOINS returned to his feet
and remained directly in front of the police line. At some point in the subsequent minutes, GOINS
obtained a USCP officer’s riot shield. Video shows GOINS holding the riot shield while standing
in front of the police line. After an officer kicked at the shield, GOINS can be seen handing the
shield to another rioter at the front of the mob. Shortly thereafter, GOINS can be seen facing the
mob and yelling, “they’re doing what we’re doing . . . they’re fighting for their families,”
apparently in reference to the police. He later added, “we’re fighting each other.”




               Image 10: Still from open-source video, with GOINS circled in red
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       Eventually, however, other rioters succeeded in breaking through the police line and began
surging up the remaining stairs at approximately 2:09 p.m. Less than a minute later, GOINS joined
the crowd and advanced up the stairs and to the Capitol’s Upper West Terrace.




               Image 11: Screenshot of Capitol CCTV, with GOINS circled in red

        From the Upper West Terrace, GOINS entered the Capitol building through the Senate
Wing Door at 2:14 p.m.— one minute after the first breach of the Capitol building, which took
place at this entrance.




               Image 12: Screenshot of Capitol CCTV, with GOINS circled in red
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       Once inside, GOINS stood on top of a bench and held up his cellular phone in a manner
consistent with taking videos or photos of the area.




               Image 13: Still from open-source video, with GOINS circled in red




               Image 14: Still from open-source video, with GOINS circled in red

        GOINS then moved further into the building and away from the entrance at the Senate
Wing Door. At approximately 2:18 p.m., GOINS arrived at the foyer on the opposite side of the
building just inside the Senate Carriage Door. At that time, USCP officers were working to clear
the building by moving rioters out through the Senate Carriage Door.
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               Image 15: Screenshot of Capitol CCTV, with GOINS circled in red

        Despite efforts by the police to move the crowd out through the Senate Carriage Door,
GOINS remained inside the Capitol building. He positioned himself just to the side of the door’s
interior while other rioters outside the door attempted to gain entry.




               Image 16: Still from open-source video, with GOINS circled in red

       At approximately 2:19 p.m., the police closed the Senate Carriage Door to prevent
additional rioters from entering the Capitol building. In CCTV footage, GOINS can be seen
speaking with USCP officers who appeared to be directing him away from the door. GOINS then
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removed his green neck gaiter, picked up a red, white, and blue baseball cap saying “USA” off the
ground, and began walking away from the door at 2:21 p.m.




               Image 17: Screenshot of Capitol CCTV, with GOINS circled in red

        By approximately 2:26 p.m., GOINS returned to the area inside the Senate Wing Door and
was wearing a black knit beanie, rather than the “USA” cap. By this time, additional law
enforcement had arrived and begun clearing the area and directing rioters to exit through the Senate
Wing Door or two broken windows on either side of the door. GOINS stood along the back wall
of the foyer for approximately 1.5 minutes and appears to have been holding his cellular phone for
the duration of that time.
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              Image 18: Screenshot of Capitol CCTV, with GOINS circled in red

       CCTV footage then shows USCP officers directing GOINS to exit the building through the
broken window adjacent to the Senate Wing Door. At approximately 2:30 p.m., GOINS exited
through that window after spending approximately sixteen minutes inside the Capitol building.




              Image 19: Screenshot of Capitol CCTV, with GOINS circled in red
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                                  Probable Cause Conclusions

        Based on the foregoing, your affiant submits that there is probable cause to believe that
GOINS violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Secret Service’s protection of the Vice President and his family and the Capitol
Police’s protection of the U.S. Capitol.

        Your affiant submits that there is probable cause to believe that GOINS violated 18 U.S.C.
§ 111(a)(1) and (b), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in section 1114 of Title 18 while engaged in or on account
of the performance of official duties, while using a deadly or dangerous weapon or inflicting bodily
injury. Persons designated within section 1114 of Title 18 include federal officers such as USCP
Officer B.W. and include any person assisting an officer or employee of the United States in the
performance of their official duties.

        Your affiant also submits that there is probable cause to believe that GOINS violated 18
U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in section 1114 of Title 18 while engaged in or on account
of the performance of official duties, where such acts involve physical contact with the victim or
the intent to commit another felony. Persons designated within section 1114 of Title 18 include
federal officers such as USCP Special Agent M.F. and include any person assisting an officer or
employee of the United States in the performance of their official duties.

        You affiant further submits that there is probable cause to believe that GOINS violated 18
U.S.C. §§ 1752(a)(1), (2) ,and (4) and 1752(b)(1)(A), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so; (4) knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds; and (b)(1)(A) to use or carry a deadly or dangerous weapon during and relation to the
above offense. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
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        Lastly, your affiant submits that there is probable cause to believe that GOINS violated 40
U.S.C. §§ 5104(e)(2)(D), (F), and (G) which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of May 2024.
                                                                    Zia M.
                                                                    Faruqui
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
